

Village of Solvay v Zahran (2018 NY Slip Op 08906)





Village of Solvay v Zahran


2018 NY Slip Op 08906


Decided on December 21, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 21, 2018

PRESENT: SMITH, J.P., CARNI, NEMOYER, CURRAN, AND TROUTMAN, JJ. (Filed Dec. 21, 2018.) 


MOTION NO. (911/18) CA 18-00119.

[*1]VILLAGE OF SOLVAY, PLAINTIFF-RESPONDENT,
vRANA J. ZAHRAN AND STEVEN'S FOOD MARKET, INC., DEFENDANTS-APPELLANTS. (APPEAL NO. 2.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








